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                         United States District Court
                          Middle District of Florida
                            Jacksonville Division

DANIEL W. GRABILL,

      Plaintiff,

V.                                                 NO. 3:23-cv-503-BJD-PDB

ROSENTHAL, MORGAN & THOMAS, INC.,


      Defendant.


                                    Order

      In the complaint, the plaintiff alleges the defendant’s principal place of
business is in Missouri. Doc. 1 ¶ 6. To support the motion for default
judgment against the defendant, the plaintiff’s counsel has filed an affidavit
declaring under penalty of perjury that the defendant is a Florida corporation
with its principal place of business in Florida. Doc. 9-2 ¶ 2B. Where the
defendant is incorporated and has its principal place of business may be
pertinent to whether this Court has personal jurisdiction over the defendant.

      By October 17, 2023, counsel must state whether the affidavit is false,
and if the affidavit is false, must show cause why sanctions should not be
imposed for filing a false affidavit to support a motion for default judgment.

      Ordered in Jacksonville, Florida, on October 3, 2023.
